Case 1:20-cr-00335-TJM Document 45-1 Filed 01/29/21 Page 1 of 4




              Exhibit "A"
     Filed Under Seal
       Case 1:20-cr-00335-TJM Document 45-1 Filed 01/29/21 Page 2 of 4
         Case l:20-cr-00335-TJM         Document 29       Filed 10/29/20    Pagfe 1          "W:
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                         IN THE UNITED STATES DISTRICT COURT                      Al
                                                                                   lihifll   Of./;;
                      FOR THE NORTHERN DISTRICT OF NEW YORK |


 UNITED STATES OF AMERICA                       )   Criminal No.              ~

                                                )
               v.                               )   Indictment
                                                )
 JACOB DELANEY,                                 )   Violations:     18 U.S.C. § 2252A(a)(2)(A) &
                                                )                   (b)(1) [Receipt of Child
                        Defendant.              )                   Pornography];
                                                )
                                                )                   18 U.S.C. §2252A(a)(5)(B)&
                                                )                   (b)(2) [Possession of Child
                                                )                   Pornography]
                                                )
                                                )   4 Counts and Forfeiture Allegation
                                                )
                                                )   County of Offense:     Ulster



                               THE GRAND JURY CHARGES:

                                            COUNT 1
                                 [Receipt of Child Pornography]


       From inor about September 201 8 through on or about December 11, 2019 in Ulster County


in the Northern District of New York and elsewhere, the defendant, JACOB DELANEY, did

knowingly receive child pornography using a means and facility of interstate and foreign

commerce, shipped and transported in and affecting such commerce by any means, including by


computer, in that the defendant did receive graphic image and video files depicting one or more

minors engaged in sexually explicit conduct by use of the Internet, in violation of Title 1 8, United

States Code, Sections 2252A(a)(2)(A) and (b)(1).

                                           COUNTS 2-4
                               [Possession of Child Pornography]


       On or about December 12, 2019, in Ulster County in the Northern District of New York,

the defendant, JACOB DELANEY, did knowingly possess material that contained one or more
       Case 1:20-cr-00335-TJM Document 45-1 Filed 01/29/21 Page 3 of 4
         Case l:20-cr-00335-TJM        Document 29      Filed 10/29/20    Page 2 of 3




images and videos of child pornography that had been shipped and transported using a means and

facility of interstate and foreign commerce, and in and affecting such commerce by any means,

including by computer, and that was produced using materials that had been transported in and

affecting such commerce by any means, including by computer, that is the electronic media

described below, which contained numerous graphic images and videos of minors engaged in

sexually explicit conduct, in violation of Title IS, United States Code, Sections 2252A(a)(5)(B).


 Count    Material
 2        Dell Laptop computer bearing serial number FN47R32, manufactured in China, and
          containing Samsung SSD bearing serial number S1D2NYAG4Q3787
 3        KESU 120GB hard drive, made in China
 4         SanDisk Cruzer flash drive bearing number BL1 102OHYB, made in China

       These violations involved images and videos of child pornography involving prepubescent

minors and minors who had not attained 12 years of age, in violation of Title 18, United States

Code, Section 2252A(b)(2).


                                FORFEITURE ALLEGATION


       The allegations contained in Counts One through Four of this indictment are hereby

realleged and incorporated by reference herein for the purposes of alleging forfeiture pursuant to

the provisions of Title 18, United States Code, Section 2253.


       Pursuant to Title 18, United States Code, Section 2253, upon conviction of any of the


charges alleged in Counts One through Four of this indictment, the defendant, JACOB


DELANEY, shall forfeit to the United States of America:


         (a)   Any visual depiction described in Title 18, United States Code, Sections 2251,

       2251A, 2252, 2252A, 2252B, and 2260, and any book, magazine, periodical, film,


       videotape, and other matter which contains any such visual depiction, which was produced,




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       Case 1:20-cr-00335-TJM Document 45-1 Filed 01/29/21 Page 4 of 4
           Case l:20-cr-00335-TJM          Document 29       Filed 10/29/20    Page 3 of 3




       transported, mailed, shipped and received in violation of Chapter 110 of Title 18 of the

       United States Code;


       (b)        Any property, real and personal, constituting and traceable to gross profits and other

       proceeds obtained from such offense; and


       (c)        Any property, real and personal, used and intended to be used to commit and to


       promote the commission of such offense and any property traceable to such property.

The property to be forfeited includes, but is not limited to, the following:


                  (1) A Dell Laptop computer bearing serial number FN47R32;

                  (2) A Samsung SSD bearing serial number S1D2NYAG403787;


                  (3) A KESU 120GB hard drive; and

                  (4) A SanDisk Cruzer flash drive bearing number BL1 102OHYB.

 Dated:      October 29, 2020
                                                        A TRUE BILL,        Name Redacted




                                                        Grand Jury Foreperson



          ANTOINETTE T. BACON
          Acting United States Attorney


              /
 By:                             J-
          Alicia G. Suarcz
          Assistant United States Attorney
          Bar Roll No. 700218




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